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UNITED STATES DISTRICT COURT F IL E D
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION FEB 2§ 2015
UNITED STATES OF AMERICA JUDGE JAMES

B, ZAGEL
No. 06 CR 1 gallNiTeED STATES DISTRICT COURT
v.

Judge James B. Zagel
RICARDO VALDEZ-TORRES
PLEA AGREEMENT
1. This Plea Agreement between the United States Attorney for the
Northern District of Illinois, ZACHARY T. FARDON, and defendant RICARDO
VALDEZ-TORRES, and his attorney, RALPH J. SCHINDLER, is made pursuant to
Rule 11 of the Federal Rules of Criminal Procedure. The parties to this Agreement
have agreed upon the following:
Charge in This Case
2. The second superseding indictment in this case charges defendant with
knowingly and intentionally manufacturing a controlled substance, intending and
knowing that such substance would be unlawfully imported into the United States
from outside thereof, which offense involved 400 grams or more of fentanyl, in
violation of Title 21, United States Code, Sections 959(a) and 960(a)(3), and Title 18,
United States Code, Section 2.
3. Defendant has read the charge against him contained in the second
superseding indictment, and that charge has been fully explained to him by his

attorney.
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A, Defendant fully understands the nature and elements of the crime
with which he has been charged.

Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of
guilty to the second superseding indictment, which charges defendant with
knowingly and intentionally manufacturing a controlled substance, intending and
knowing that such substance would be unlawfully imported into the United States
from outside thereof, which offense involved 400 grams or more of mixtures and
substances containing fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidiny]]
propanamide), a Schedule II Narcotic Drug Controlled Substance, in violation of
Title 21, United States Code, Sections 959(a) and 960(a)(3), and Title 18, United
States Code, Section 2.

Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in the second superseding indictment. In pleading guilty, defendant
admits the following facts and that those facts establish his guilt beyond a
reasonable doubt:

Beginning no later than in or around 2003, and continuing until at least in or
around March 2006, in the Northern District of Illinois, Eastern Division, and
elsewhere, defendant RICARDO VALDEZ-TORRES (“VALDEZ-TORRES”)
knowingly and intentionally manufactured a controlled substance in Lerma de

Villada, Mexico State, Mexico, intending and knowing that such substance would be

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unlawfully imported into the United States from outside thereof, which offense
involved 400 grams or more of mixtures and substances containing fentanyl (N-
phenyl-N-[1-(2-phenylethy])-4-piperidinyl] propanamide), a Schedule II Narcotic
Drug Controlled Substance, in violation of Title 21, United States Code, Sections
959(a) and 960(a)(3) and Title 18, United States Code, Section 2.

Specifically, in around 2003, VALDEZ-TORRES met with Individual A.
During that meeting, Individual A asked VALDEZ-TORRES to help establish and
serve as Commercial Director of a company in Hermosillo, Mexico, named
Distribuidora Talios SA de CV. In or about 2003, VALDEZ-TORRES helped
establish Distribuidora Talios as a company located in Hermosillo and, later, Lerma
de Villada, Mexico State, Mexico. VALDEZ-TORRES initially suspected and later
learned that Distribuidora Talios was placing orders for chemicals and equipment
to be used in the manufacture of controlled substances.

Between 2005 and 2006, VALDEZ-TORRES and others ordered chemicals
and equipment, some of which VALDEZ-TORRES used to manufacture fentanyl
through Distribuidora Talios. Between the fall of 2005 and May 21, 2006, VALDEZ-
TORRES manufactured at least 400 grams, but less than 1 kilogram, of fentanyl
using the chemicals and equipment ordered through Distribuidora Talios.
VALDEZ-TORRES knew that at least some of the fentanyl he manufactured would

be imported into the United States for eventual distribution by others to wholesale

customers in the United States, including Chicago.

 
 

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Between May 21, 2006, and December 14, 2010, VALDEZ-TORRES was in
custody in Mexico for conduct related to the offense charged in the indictment in
this case. Specifically, VALDEZ-TORRES was arrested in Lerma de Villada,
Mexico, on May 21, 2006, and charged in case #42/2006-I in the Second District
Federal Court of Mexico with the illegal manufacture of a controlled substance. On
December 14, 2010, while the case in Mexico was pending, VALDEZ-TORRES was
extradited to the United States to face charges in this case.

Maximum Statutory Penalties

7. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. A maximum sentence of life imprisonment and a statutory
mandatory minimum sentence of 10 years. Pursuant to Title 18, United States
Code, Section 3561, defendant may not be sentenced to a term of probation for this
offense. This offense also carries a maximum fine of $4,000,000. Defendant further
understands that the judge also must impose a term of supervised release of at least
five years and up to any number of years, including life.

b. In accord with Title 18, United States Code, Section 3013,
defendant will be assessed $100 on the charge to which he has pled guilty, in
addition to any other penalty imposed.

Sentencing Guidelines Calculations
8. Defendant understands that in imposing sentence the Court will be

guided by the United States Sentencing Guidelines. Defendant understands that

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the Sentencing Guidelines are advisory, not mandatory, but that the Court must
consider the Guidelines in determining a reasonable sentence.

9. For purposes of calculating the Sentencing Guidelines, the parties
agree on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of the offense. The following
statements regarding the calculation of the Sentencing Guidelines are based on the
November 2014 Guidelines Manual.

b. Offense Level Calculations.

1. The base offense level is 30, pursuant to Guideline
§ 2D1.1(a)(5) and (c)(5), because the amount of mixtures containing fentanyl
involved in the offense for which defendant is accountable is more than 400 grams
but less than 1.2 kilograms.

ll. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for his actions within the meaning of
Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office
and the Probation Office with all requested financial information relevant to his

ability to satisfy any fine that may be imposed in this case, a two-level reduction in

the offense level is appropriate.

 
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ill. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

c. Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government and stipulated below, defendant’s criminal history
points equal 5, and defendant’s criminal history category is III:

1. On or about March 29, 1993, following his conviction for
conspiracy to distribute fentanyl in the United States District Court for the
Southern District of California, defendant was sentenced to 170 months’
imprisonment, followed by 60 months’ supervised release. Pursuant to Guideline §
4A1.1(a), defendant receives three criminal history points for this conviction.

il. Pursuant to Guideline § 4A1.1(d), defendant receives two
criminal history points because he committed the instant offense while under a
criminal justice sentence, namely, the conviction discussed in subparagraph 9(c)(i)
above.

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense

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level is 27, which, when combined with the anticipated criminal history category of
III, results in an anticipated advisory sentencing guidelines range of 87 to 108
months’ imprisonment, in addition to any supervised release and fine the Court
may impose. Defendant also acknowledges that he is subject to a statutory
minimum sentence of 10 years’ imprisonment. Pursuant to Guideline §5G1.1(b),
therefore, the statutory minimum sentence of 120 months shall be the Guidelines
sentence.

e. Defendant, his attorney, and the government acknowledge that
the above guidelines calculations are preliminary in nature, and they are non-
binding predictions upon which neither party is entitled to rely. Defendant
understands that further review of the facts or applicable legal principles may lead
the government to conclude that different or additional guidelines provisions apply
in this case. Defendant understands that the Probation Office will conduct its own
investigation, that the Court ultimately determines the facts and law relevant to
sentencing, and that the Court’s determinations govern the final guideline
calculation. Accordingly, the validity of this Agreement is not contingent upon the
probation officer’s or the Court’s concurrence with the above calculations, and
defendant shall not have a right to withdraw his plea on the basis of the Court’s
rejection of these calculations.

10. Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11(c)(1)(B) and that errors in applying or interpreting

any of the sentencing guidelines may be corrected by either party prior to

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sentencing. The parties may correct these errors either by stipulation or by a
statement to the Probation Office or the Court setting forth the disagreement
regarding the applicable provisions of the guidelines. The validity of this
Agreement will not be affected by such corrections, and defendant shall not have a
right to withdraw his plea, nor the government the right to vacate this Agreement,
on the basis of such corrections.

Agreements Relating to Sentencing

11. Each party is free to recommend whatever sentence it deems
appropriate. The government agrees to recommend that the Bureau of Prisons that
defendant receive credit for the time he served in Mexican custody from May 21,
2006, to December 14, 2010.

12. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the
maximum penalties as set forth above. Defendant further acknowledges that if the
Court does not accept the sentencing recommendation of the parties, defendant will
have no right to withdraw his guilty plea.

13. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

14. Before sentence is imposed, the government will move to dismiss the

notice of prior conviction relating to defendant filed pursuant to Title 21, United

States Code, Section 851.

 
 

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15. After sentence has been imposed on the count to which defendant
pleads guilty as agreed herein, the government will move to dismiss the
superseding indictment and the forfeiture allegation as to defendant.

Acknowledgments and Waivers Regarding Plea of Guilty
Nature of Agreement

16. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding
defendant’s criminal liability in case 06 CR 138.

17. This Agreement concerns criminal liability only. Except as expressly
set forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial
civil claim, demand, or cause of action it may have against defendant or any other
person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of Illinois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.

Waiver of Rights

18. Defendant understands that by pleading guilty he surrenders certain
rights, including the following:

a. Trial rights. Defendant has the right to persist in a plea of not

guilty to the charge against him, and if he does, he would have the right to a public

and speedy trial.

 
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1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that
the trial be conducted by the judge without a jury.

il. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

lll. If the trial is a jury trial, the jury would be instructed
that defendant is presumed innocent, that the government has the burden of
proving defendant guilty beyond a reasonable doubt, and that the jury could not
convict him unless, after hearing all the evidence, it was persuaded of his guilt
beyond a reasonable doubt. The jury would have to agree unanimously before it
could return a verdict of guilty or not guilty.

lv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, whether or not
the judge was persuaded that the government had established defendant’s guilt
beyond a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government

would be required to present its witnesses and other evidence against defendant.

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Defendant would be able to confront those government witnesses, and his attorney
would be able to cross-examine them.

vi. At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

vil. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in
his own behalf.

b. Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his right to trial. Defendant is aware that Title 28, United States
Code, Section 1291, and Title 18, United States Code, Section 3742, afford a
defendant the right to appeal his conviction and the sentence imposed.
Acknowledging this, defendant knowingly waives the right to appeal his conviction,
any pre-trial rulings by the Court, and any part of the sentence (or the manner in
which that sentence was determined), including any term of imprisonment and fine
within the maximums provided by law, in exchange for the concessions made by the
United States in this Agreement. In addition, defendant also waives his right to
challenge his conviction and sentence, and the manner in which the sentence was

determined, in any collateral attack or future challenge, including but not limited to

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a motion brought under Title 28, United States Code, Section 2255. The waiver in
this paragraph does not apply to a claim of involuntariness, or ineffective assistance
of counsel, nor does it prohibit defendant from seeking a reduction of sentence based
directly on a change in the law that is applicable to defendant and that, prior to the
filing of defendant’s request for relief, has been expressly made retroactive by an
Act of Congress, the Supreme Court, or the United States Sentencing Commission.

19. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those
rights to him and the consequences of his waiver of those rights

Presentence Investigation Report/Post-Sentence Supervision

20. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charge against him,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing.

21. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to
and shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent
income tax returns as specified by the probation officer. Defendant understands

that providing false or incomplete information, or refusing to provide this

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information, may be used as a basis for denial of a reduction for acceptance of
responsibility pursuant to Guideline § 3E1.1 and enhancement of his sentence for
- obstruction of justice under Guideline § 3C1.1, and may be prosecuted as a violation
of Title 18, United States Code, Section 1001, or as a contempt of the Court.

22. For the purpose of monitoring defendant's compliance with his
obligations to pay a fine during any term of supervised release to which defendant
is sentenced, defendant further consents to the disclosure by the IRS to the
Probation Office and the United States Attorney’s Office of defendant’s individual
income tax returns (together with extensions, correspondence, and other tax
information) filed subsequent to defendant’s sentencing, to and including the final
year of any period of supervised release to which defendant is sentenced. Defendant
also agrees that a certified copy of this Agreement shall be sufficient evidence of
defendant’s request to the IRS to disclose the returns and return information, as
provided for in Title 26, United States Code, Section 6103(b).

Other Terms

23. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine for which defendant is liable, including providing
financial statements and supporting records as requested by the United States
Attorney’s Office.

25. Defendant recognizes that pleading guilty may have consequences with
respect to his immigration status if he is not a citizen of the United States. Under

federal law, a broad range of crimes are removable offenses, including the offense to

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which defendant is pleading guilty. Indeed, because defendant is pleading guilty to
an offense that is an “aggravated felony” as that term is defined in Title 8, United
States Code, Section 1101(a)(48), removal is presumptively mandatory. Removal
and other immigration consequences are the subject of a separate proceeding,
however, and defendant understands that no one, including his attorney or the
Court, can predict to a certainty the effect of his conviction on his immigration
status. Defendant nevertheless affirms that he wants to plead guilty regardless of
any immigration consequences that his guilty plea may entail, even if the
consequence is his automatic removal from the United States.
Conclusion

26. Defendant understands that this Agreement will be filed with the
Court, will become a matter of public record, and may be disclosed to any person.

27. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by
any term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and
thereafter prosecute defendant not subject to any of the limits set forth in this
Agreement, or may move to resentence defendant or require defendant’s specific
performance of this Agreement. Defendant understands and agrees that in the
event that the Court permits defendant to withdraw from this Agreement, or

defendant breaches any of its terms and the government elects to void the

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Agreement and prosecute defendant, any prosecutions that are not time-barred by
the applicable statute of limitations on the date of the signing of this Agreement
may be commenced against defendant in accordance with this paragraph,
notwithstanding the expiration of the statute of limitations between the signing of
this Agreement and the commencement of such prosecutions.

28. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void, and neither party will be bound to it.

29. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set

forth in this Agreement, to cause defendant to plead guilty.

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30. Defendant acknowledges that he has read this Agreement and
carefully reviewed each provision with his attorney. Defendant further
acknowledges that he understands and voluntarily accepts each and every term and

condition of this Agreement.

AGREED THIS DATE: Jf SpIs
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CHRISTOPHER J. STETLER Sarak v7 CHINDLER
Assistant U.S. Attorney Attorney Defendant

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